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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


DAVID PORTNOY,
                                                       Civil Action No. 1:22-cv-10197-FDS
                        Plaintiff,

vs.

INSIDER, INC., at al.,

                        Defendants.


                   ASSENTED-TO MOTION FOR EXTENSION OF TIME
                        TO RESPOND TO MOTION TO DISMISS

          Pursuant to Local Rule 7.1(b)(2), Plaintiff David Portnoy, with the assent of the

Defendants, respectfully requests an extension of time through and including May 27, 2022 to

respond to Defendants’ Motion to Dismiss (ECF No. 26) and Request for Judicial Notice (ECF

No. 28), filed on April 11, 2022. As grounds therefore, Plaintiff states that his counsel, Andrew

Brettler and Jake Camara, are currently on trial in Los Angeles, and his other counsel, Howard

Cooper, is scheduled to begin a jury trial on May 2, 2022 before Judge Sorokin. Defendants

assent to the requested extension, and no party will be prejudiced.1

          WHEREFORE, Plaintiff David Portnoy respectfully requests an extension of time

through and including May 27, 2022 to respond to Defendants’ Motion to Dismiss (ECF No. 26)

and Request for Judicial Notice (ECF No. 28).




      1
      Pursuant to Local Rule 7.1(b)(3), Defendants will separately seek leave to file a reply memorandum
of law. Defendants propose to file the reply memorandum of law on or before June 17, 2022. Plaintiff’s
counsel does not object to the proposed filing date, but reserves the right to object to Defendants’ filing
any reply memorandum of law.
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                                          Respectfully submitted,

                                          For Plaintiff, David Portnoy,
                                          By his attorneys,


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                            LOCAL RULE 7.1(a)(2) CERTIFICATE
       The undersigned certifies that counsel for the parties have conferred, and that Defendants

assent to the relief requested.

                                                     /s/ Christian G. Kiely
                                                     Christian G. Kiely




                                  CERTIFICATE OF SERVICE

       I, Christian G. Kiely, hereby certify that this document filed through the CM/ECF system

will be sent electronically to the registered participants as identified on the NEF (NEF) and paper

copies will be sent to those indicated as non-registered participants on April 15, 2022.


Dated: April 15, 2022                                /s/ Christian G. Kiely
                                                     Christian G. Kiely
